Case 8:18-cv-00228-CEH-AEP Document1 Filed 01/26/18 Page 1 of 6 PagelD 1

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

 

TAMPA DIVISION
JAMIE ELLIS, ch
once V-1- 3b
Plaintiff, CASENO. 6147 W
vs. JURY TRIAL DEMANDED, ;
JPMORGAN CHASE BANK, N.A. | “a
d/b/a CHASE CARD SERVICES, =
“\
Defendant. 3
/
COMPLAINT

 

Plaintiff, Jamie Ellis (“Plaintiff”), alleges the following Complaint against Defendant,
JPMorgan Chase Bank, N.A. D/B/A Chase Card Services (“Defendant”):

1. This is an action for damages for violations of the Telephone Consumer Protection
Act, 47 U.S.C. §227 et seg. (“TCPA”) and the Florida Consumer Collection Practices Act, Fla. Stat.
§§ 559.55 et seq. (““FCCPA”).

PARTIES

Di Plaintiff is a “consumer” as that term is defined by Fla. Stat. § 559.55(2).

2, Defendant is a foreign company that conducts business in Florida. Defendant has a
registered agent located in the state of Florida, and the actions forming the basis of this Complaint
took place at Plaintiff's home location in this district.

4. Defendant is a “person” subject to regulation under Fla. Stat. § 559.72.

5. Plaintiff is the subscriber, regular user and carrier of the cellular telephone number,

(941-XXX-8337), and was the called party and recipient of Defendant’s autodialer calls.
Case 8:18-cv-00228-CEH-AEP Document1 Filed 01/26/18 Page 2 of 6 PagelD 2

JURISDICTION AND VENUE

6. This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 for the
TCPA claim, and should exercise supplemental jurisdiction over the state FCCPA claims pursuant
to 28 U.S.C. § 1367(a), as such claims are so closely related so as to form part of the same case or
controversy.

7. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2), in that the acts
giving rise to this action occurred in this District.

FACTUAL ALLEGATIONS

8. Plaintiff allegedly incurred a consumer debt with Defendant (“Subject Debt”).

9. The Subject Debt is considered a “consumer debt” as defined by the FCCPA, as it
constitutes an obligation for the payment of money arising out of a transaction in which the money
and/or services which was the subject of the transaction was primarily for Plaintiffs personal,
family, or household purposes.

10. In or around November, 2017, Plaintiff fell behind on her payments due to financial
hardship.

11. On December 2, 2017, at approximately 2:40 pm, Defendant placed an automated
call to Plaintiffs cell phone. Plaintiff informed Defendant that she was experiencing financial
hardship and was unable to make payment. She advised Defendant that she would contact them
when she was able to make payment. She then requested Defendant to stop calling her cell phone.

12. Despite Plaintiff's request, Defendant continued to autodial Plaintiff's cell phone in

an attempt to collect the subject debt.
Case 8:18-cv-00228-CEH-AEP Document1 Filed 01/26/18 Page 3 of 6 PagelD 3

=

13. Defendant routinely used an automatic telephone dialing system (““ATDS”) to call
Plaintiff on her cellular phone, for which Plaintiff was charged, without Plaintiff's prior express
consent, and after Plaintiff demanded that Defendant stop calling her cellular phone.

14. Further, Defendant has a corporate policy to use an ATDS and has numerous other
federal lawsuits pending against them alleging similar violations and facts as stated in this
complaint.

15. Despite Plaintiff informing the Defendant for her reasons of non-payment towards
the Subject Debt and taking all reasonable measures at negotiating a resolution to the Subject Debt,
the Defendant continued its efforts to try and collect the Subject Debt from Plaintiff. As a result, the
Defendant’s subsequent attempts to persuade Plaintiff were made with the intent to simply exhaust
Plaintiff's will and harass Plaintiff.

16. The above-referenced conduct was a willful attempt by Defendant to engage in
conduct which was reasonably expected to abuse or harass Plaintiff. Defendant’s conduct has
caused Plaintiff significant anxiety, emotional distress, frustration, and anger.

17. The above-referenced conduct was a willful attempt by Defendant to engage in
conduct which was reasonably expected to abuse or harass Plaintiff.

18. | Defendant’s autodialer calls to Plaintiff's cell phone caused her headaches and loss
of time from work due to answering these calls.

19. By effectuating these unlawful phone calls, Defendant has caused Plaintiff the very
harm that Congress sought to prevent—namely, a "nuisance and invasion of privacy."

20. Defendant’s aggravating and annoying phone calls trespassed upon and interfered
with Plaintiff's rights and interests in her cellular telephone and cellular telephone line, by intruding

upon Plaintiffs seclusion.
Case 8:18-cv-00228-CEH-AEP Document1 Filed 01/26/18 Page 4 of 6 PagelD 4

21. Defendant’s phone calls harmed Plaintiff by wasting her time.

22. Moreover, "wireless customers [like Plaintiff] are charged for incoming calls
whether they pay in advance or after the minutes are used." In re: Rules Implementing the TCPA of
1991, 23 FCC Red 559, 562 (2007). Defendant’s phone calls harmed Plaintiff by depleting the
battery life on her cellular telephone, and by using minutes allocated to Plaintiff by her cellular
telephone service provider.

COUNT I

VIOLATIONS OF THE TELEPHONE COMSUMER PROTECTION ACT
47 U.S.C. § 227 et seq.

23. Plaintiff incorporates by reference paragraphs 1 through 22 of this Complaint as
though fully stated herein.

24. It is a violation of the TCPA to make “any call (other than a call made for
emergency purposes or made with the prior express consent of the called party) using any automatic
telephone dialing system or an artificial or prerecorded voice ... to any telephone number assigned
toa... cellular telephone service ...” 47 U.S.C. § 227(b)(1)(A)(iii).

25. The Defendant placed non-emergency telephone calls to Plaintiffs cellular
telephone using an automatic telephone dialing system or pre-recorded or artificial voice, without
Plaintiff's consent in violation of 47 U.S.C. § 227(b)(1)(A)(iii).

26. Plaintiff revoked any prior express consent Defendant had to call Plaintiff's cellular
telephone number. As such, the Defendant’s calls were willful or knowing. See 47 U.S.C. §
3121).

27. As a result of the Defendant’s conduct and pursuant to Section 227(b)(3) of the

TCPA, Plaintiff was harmed and is entitled to a minimum of $500 in damages for each violation.
Case 8:18-cv-00228-CEH-AEP Document1 Filed 01/26/18 Page 5 of 6 PagelID 5

28. Because the Defendant knew that Plaintiff had revoked prior express consent to
receive their autodialed and prerecorded voice calls to his cellular telephone — and /or willfully used
an automatic telephone dialing system and/or prerecorded voice message to call Plaintiffs cellular
telephone without prior express consent — Plaintiff requests the Court to treble the amount of
statutory damages available to Plaintiff pursuant to 47 U.S.C. § 227(b)(3).

WHEREFORE, Plaintiff demands judgment against the Defendant for damages, costs, and
such further relief as this Court deems just and proper.

COUNT Il

VIOLATIONS OF THE FLORIDA CONSUMER COLLECTIONS PRACTICES ACT
FLORIDA STATUTES § 559.55 ef seq.

29. Plaintiff incorporates by reference paragraphs 1 through 22 of this Complaint as
though fully stated herein.
30. The foregoing acts and omissions of Defendant constitute a violation of the FCCPA:
a. Fla. Stat. 559.72(7): Willfully communicate with the debtor or any
member of her or his family with such frequency as can reasonably be
expected to harass the debtor or her or his family, or willfully engage in
other conduct which can reasonably be expected to abuse or harass the
debtor or any member of her or his family.
31. Asa result of Defendant’s violation of the FCCPA, pursuant to Fla. Stat. § 559.77
Plaintiff is entitled to damages in an amount up to $1,000.00 for violation of the FCCPA, actual
damages, plus reasonable attorneys’ fees and costs.

WHEREFORE, Plaintiff demands judgment for actual and statutory damages, attorneys’

fees, costs, and such further relief as this Court deems just and proper.
Case 8:18-cv-00228-CEH-AEP Document1 Filed 01/26/18 Page 6 of 6 PagelD 6

DEMAND FOR JURY TRIAL

Plaintiff demands a trial by jury on all issues so triable.

/s/

Jon P. Deobeld, Esq.

Fla. Bar No. 105869
Jon@berkmyer.com
Berkowitz & Myer

4900 Central Ave

St. Petersburg, Florida 33707
(727) 344-0123 (office)
Attorneys for Plaintiff
